AO 398 (Rev. 01/09) Notice of a Lawsuit and Request to Waive Service of a Summons



                                          UNITED STATES DISTRICT COURT
                                                                   for the
                                                     Western District
                                                     __________       of North
                                                                 District      Carolina
                                                                          of __________

                   DAVID BRADY, ET AL                                       )
                              Plaintiff                                     )
                                 v.                                         )       Civil Action No. 5:23-CV-00059
                    JERRY W. TROSTLE                                        )
                            Defendant                                       )

                  OTICE OF A LAWSUIT AD REQUEST TO WAIVE SERVICE OF A SUMMOS

To: Jerry W. Trostle
      (Name of the defendant or - if the defendant is a corporation, partnership, or association - an officer or agent authorized to receive service)

          Why are you getting this?

       A lawsuit has been filed against you, or the entity you represent, in this court under the number shown above.
A copy of the complaint is attached.

        This is not a summons, or an official notice from the court. It is a request that, to avoid expenses, you waive formal
service of a summons by signing and returning the enclosed waiver. To avoid these expenses, you must return the signed
waiver within 30 days (give at least 30 days, or at least 60 days if the defendant is outside any judicial district of the United States)
from the date shown below, which is the date this notice was sent. Two copies of the waiver form are enclosed, along with
a stamped, self-addressed envelope or other prepaid means for returning one copy. You may keep the other copy.

          What happens next?

         If you return the signed waiver, I will file it with the court. The action will then proceed as if you had been served
on the date the waiver is filed, but no summons will be served on you and you will have 60 days from the date this notice
is sent (see the date below) to answer the complaint (or 90 days if this notice is sent to you outside any judicial district of
the United States).

        If you do not return the signed waiver within the time indicated, I will arrange to have the summons and complaint
served on you. And I will ask the court to require you, or the entity you represent, to pay the expenses of making service.

          Please read the enclosed statement about the duty to avoid unnecessary expenses.

          I certify that this request is being sent to you on the date below.

Date:           05/07/2024                                                                                  /John B. Riordan/
                                                                                              Signature of the attorney or unrepresented party

                                                                                                              John Riordan
                                                                                                                Printed name
                                                                                                      8511 Davis Lake Parkway
                                                                                                           Suite C6-138
                                                                                                        Charlotte, NC 28269
                                                                                                                   Address

                                                                                                          j.riordan@theflg.com
                                                                                                                E-mail address

                                                                                                              704-285-8111
                                                                                                              Telephone number
